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                       UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


STEPHANIE SCHOLL, et al.
                                        Case No. 1:24-cv-04435

              Plaintiff,                Honorable Martha M. Pacold

                   v.

ILLINOIS STATE POLICE, et al.,


             Defendant.

                                 STATUS REPORT

   In consideration of this Court’s Memorandum Opinion and Order Granting

Defendant’s Motion to Dismiss an Denying Plaintiff’s Motion for Preliminary

Injunction [ECF No. 41], dated March 31, 2025, Plaintiffs have determined that

they will not be filing a motion for leave to amende their Complaint. Instead,

Plaintiffs intend to appeal this Court’s grant of Defendants’ Motion to Dismiss .

Plaintiffs understand, however, that this court has not entered judgment on that

order as of yet.

   Plaintiffs therefore respectfully request that this Court enter final judgment in

this case. Once final judgment is entered, Plaintiffs will file a Notice of Appeal.


Dated this 29th day of April 2025.

                                  Plaintiffs: Stephanie Scholl and Frank Bednarz
                                  BY:     /s/ Reilly Stephens
                                          Reilly Stephens

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                                        Attorneys for Plaintiffs Stephanie Scholl and
                                        Frank Bednarz




                            CERTIFICATE OF SERVICE

   I certify that the foregoing document was filed electronically with the Court’s

Case Management/Electronic Case Filing (CM/ECF) system. The Court and/or

Clerk of Court may serve and give notice to counsel by CM/ECF electronic

transmission.

   Dated this 29th day of April 2025.

                                        /s/ Reilly Stephens
                                        Reilly Stephens
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